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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                 (Greenbelt Division)

In re:                                             )
                                                   )
WILLIAM CHARLES BEVAN                              )
                                                   ) Case No. 22-12609
 Debtor                                            ) (Chapter 13)
____________________________________               )

  PRELIMINARY RESPONSE TO MOTION TO DISMISS FEE APPLICATION
                  FILED BY DEBTOR [DKT. 394]

               THE BURNS LAWFIRM, LLC (the “Firm”), as an Administrative Expense Claimant

files this Preliminary Response to Motion to Dismiss Fee Application Filed by Debtor [Dkt. 394], and

states as follows:

               On October 31, 2023, the Firm filed its Fee Application [Dkt. 354], which was timely

filed and served under the Order. [Dkt. 335] entered on September 5, 2023.

               There have been a myriad of filings by the Debtor which purpose his dissatisfaction with

both the Plan [Dkt. 55, 55-1] which he agreed to, the Confirmation Order [Dkt. 80] which was entered

on October 26, 2022, and not lastly the efforts of the below signed counsel in representation. The

Chapter 7 Trustee has filed an Objection to the Fee Application [Dkt. 382] on November 20, 2023 and

the United States Trustee has filed an Objection to the Fee Application [Dkt. 389] on November 30,

2023. As the undersigned relayed in his most recent responses to the Debtor’s most recent filings, the

Firm is preparing a further reply on these matters, both as to the filings and opposition expressed by

the Debtor in various filings but also to the filings of the Chapter 7 Trustee and the United States

Trustee.

               Because of the areas that venture into alleged ethical violations, the Firm is retaining

counsel to assist in both the preparation of a Reply or other filings and that should be forthcoming in
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the near future. Suffice it to say the Firm has much to say on these matters and will make its Reply on

the filings that are outstanding for the Bankruptcy Court’s consideration. The Firm therefore at this

time files this preliminary Response to the Debtor’s most recent Motion to Dismiss [Dkt. 394] and

incorporates both his Fee Application [Dkt. 354] and the content thereof and the Consolidated Response

[Dkt. 381] filed on November 19, 2023. The Firm notes that notwithstanding whatever opposition the

Debtor recites to the Fee Application, no basis for relief has been alleged to dismiss the Fee Application,

which as noted was timely and served upon the Debtor.

               WHEREFORE, the Firm requests that the Bankruptcy Court DENY the

Motion to Dismiss and grant to the Firm such other and further relief as equity and justice

may require.

                                       Respectfully Submitted,

                                        --------/S/ John D. Burns----------
                                        John D. Burns, Esquire (#22777)
                                        The Burns Law Firm, LLC
                                        6305 Ivy Lane; Suite 340
                                        Greenbelt, Maryland 20770
                                        (301) 441-8780
                                        info@burnsbankruptcyfirm.com
                                        Counsel to the Firm




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                             CERTIFICATE OF SERVICE

I hereby certify that on this 7th day of December, 2023, a copy of the foregoing
Response was served via first-class mail, postage prepaid, or sent by ECF, upon:

By ECF Notification Upon:
Justin P. Fasano jfasano@mhlawyers.com

williamrudow@rudowlaw.com

emeyers@mrrlaw.net

Parties registered for ECF notification

By Electronic Mail Upon:
Adam Ross Levin
Homewise Realty Services, LLC
11140 Rockville Pike
Suite 420
Rockville, MD 20852

Jeanette Rice, Esquire
Office of the United States Trustee
6305 Ivy Lane; STE 600
Greenbelt, MD 20770

By Electronic Mail and First Class Postage Pre-Paid Mail Upon:
Dr. William Bevan
ProMedica Skilled Nursing and Rehab (Manor Care)
11901 Georgia Avenue
Wheaton, MD 20902

                                                    -----------/S/ John D. Burns-----
                                                    John D. Burns




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